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                               SECOND ADDENDUM TO
                         AGREEMENT OF SALE AND PURCHASE
                          AND JOINT ESCROW INSTRUCTIONS

        THIS SECOND ADDENDUM TO AGREEMENT OF SALE AND PURCHASE AND
JOINT ESCROW INSTRUCTIONS (“Second Addendum”) is dated as of December ___, 2017,
by and between NEW CAL-NEVA LODGE, LLC, a Nevada limited liability company (
“Seller”) and LAWRENCE INVESTMENTS, LLC, a California limited liability company
(“Purchaser”), and amends that certain Agreement of Sale and Purchase and Joint Escrow
Instructions dated October ___, 2017 by and between Seller and Purchaser (the “Original
Agreement”), as amended by that certain Addendum to Agreement of Sale and Purchase and
Joint Escrow Instructions dated October ___, 2017 (the “First Addendum” and collectively with
the Original Agreement, as the “Agreement”) relating to that certain real and personal property
more particularly described in the Agreement.

        1.     Defined Terms. Unless otherwise defined in this Addendum, all defined terms
shall have the meaning set forth in the Agreement.

       2.      Modifications to Defined Terms. Notwithstanding anything to the contrary in
Section 1.01 or elsewhere in the Agreement, the following terms defined in the Agreement are
hereby modified or if not already defined, defined herein as follows:

                (a)     “Furnishings” shall mean all fixtures, furniture, furnishings, fittings,
equipment, computers, machinery, apparatus, appliances, vehicles, if any, and other articles of
personal property located on the Property that are being used in connection with any part of the
Hotel or the Fairwinds House or held in storage at any location for use (or future use) on the
Property in connection with any part of the Hotel or the Fairwinds House, and that is owned or
leased by the Seller or any of its Affiliates; provided that, Furnishings shall not include (i) the
furnishings, fixtures and equipment stored by or on behalf of Seller at the warehouse located in
Sparks, Nevada (the “Cal-Neva FF&E”) or (ii) the un-affixed furnishings and personal property
in the Fairwinds House that are timely removed from the Fairwinds House by Paul and Evy
Paye, LLC (“Paye”) prior to the Closing Date.

        3.       Cure Amounts and Plan Confirmation Expense Payment. Section 2.01(c) of the
Original Agreement as modified by Section 7 of the First Addendum is hereby amended and
restated in its entirety to read as follows:

                “(c) In addition to the Purchase Price, and only if the Closing is
        occurring subject to all of the terms and conditions of this Agreement, Purchaser
        shall concurrently with the Closing pay to Escrow Agent for disbursement upon
        or after the Closing an amount equal to Two Million Three Hundred Fifty-Five
        Thousand and 00/100 Dollars ($2,355,000.00) (the “Plan Payment”) less the
        Cure Amounts (such net sum, the “Plan Confirmation Expense Payment”).
        The Plan Confirmation Expense Payment shall be paid by Escrow Agent in
        accordance with one or more orders issued by the Bankruptcy Court.”



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        4.     Allocation of Purchase Price. Sections 9(a), 9(b) and 9(c) of the First Addendum
is hereby replaced in their entirety by the following:

                   “9.   Allocation of Purchase Price.

                       (a)    For Transfer and Property Tax Purposes. For the sole
        purpose of recording the Deeds at the Closing and providing the required
        information to the applicable counties where the Deeds will be recorded, Seller
        and Purchaser hereby agree that the Purchase Price, the Plan Payment and the
        Fairwinds Pay-Off (as defined below) shall be allocated as follows:

            Value                           Portion of Property

            $8,000,000.00                   Real Property in California (other than
                                            Fairwinds House)

            $28,500,000.00                  Real Property in Nevada

            $1,155,000.00, plus the         Real Property consisting only of
            pay-off amount of the           Fairwinds House
            debt secured by the
            Fairwinds Mortgage as of
            the Closing (the
            “Fairwinds Pay-Off” and
            collectively with the
            $1,155,000, the
            “Fairwinds Amount”)

            $500,000.00                     All Property other than the Real
                                            Property, including good will”


                       (b)     For Income Tax Reporting Purposes. Unless either Seller
        or Purchaser elect to have a Property Appraisal (as defined below in Section 9(c))
        conducted and completed on or prior to December 31, 2018 (the “Outside
        Appraisal Date”) in accordance with Section 9(c) hereof, Seller and Purchaser
        hereby agree upon, an allocation of the Purchase Price, the Plan Payment and the
        Fairwinds Pay-Off for federal income tax purposes under Section 1060 of the
        Internal Revenue Code of 1986, as amended, as follows:




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                      Value                                Portion of Property

            $500,000.00                     The Improvements located on the Real Property
                                            in California (other than Fairwinds House)

            $7,500,000.00                   The Land portion of the Real Property in
                                            California (other than Fairwinds House)

            $13,000,000.00                  The Improvements on the Real Property in
                                            Nevada

            $15,500,000.00                  The Land portion of the Real Property in
                                            Nevada

            30% of the Fairwinds            The Improvements located on the Real Property
            Amount                          consisting only of Fairwinds House

            70% of the Fairwinds            The Land portion of the Fairwinds House
            Amount

            $475,000.00                     All Property other than the Real Property,
                                            except for good will

            $25,000.00                      Goodwill


                        (c)     Appraisal Process. If either Seller or Purchaser elects to obtain an
        appraisal of the different portions of the Property (a “Property Appraisal”) by a
        qualified appraiser that has experience appraising property in the Lake Tahoe area, such
        election shall be made by written notice to the other party (the “Non-Electing Party”) on
        or before June 30, 2018. The first party to send such a notice (the “Electing Party”)
        shall have until the Outside Appraisal Date to complete the Property Appraisal and
        provide a copy of same to the Non-Electing Party. The Electing Party shall bear all costs
        of the appraisal. If the Electing Party fails to complete the Property Appraisal and
        provide a copy to the Non-Electing Party by the Outside Appraisal Date, then the parties
        shall use the allocation figures set forth in Section 9(b). If the Electing Party obtains the
        Property Appraisal by the Outside Appraisal Date, then the Electing Party shall promptly
        deliver such Property Appraisal to the Non-Electing Party and the allocation of the
        Purchase Price set forth in such Property Appraisal shall be used by both parties for
        federal income tax purposes under Section 1060 of the Internal Revenue Code of 1986, as
        amended. No party shall file any return (or treat any item or items thereon) nor make any
        other statement or submission to the IRS, any comparable state agency, or any court or
        other judicial or administrative body, or otherwise account for the Property, which return,
        treatment, item, statement, submission or accounting is inconsistent in whole or in part
        with the allocation set forth in this Section 9.”




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       5.    Additional Conditions Precedent to Purchaser’s Obligations. Section 13 of the
First Addendum is hereby replaced in its entirety by the following:

                “13. Additional Conditions Precedent to Purchaser’s Obligations. In
        addition to any conditions precedent to Purchaser’s obligations specifically stated
        in Section 5.05 or elsewhere in the Agreement, Purchaser’s obligations under the
        Agreement are conditioned upon the satisfaction of the following conditions as of
        the Scheduled Closing Date:

                (a)     All warranties obtained in connection with the patching of the
        shingle roofing and applying a membrane on the low slope roof of the
        casino/kitchen area of the Improvements which was completed within the last
        three (3) months of this Second Addendum shall have been assigned to Purchaser
        at the Closing.

                (b)     Seller shall deliver possession of the Real Property to Purchaser at
        the Closing free and clear of all occupants and tenants, including, but not limited
        to the caretaker of the Fairwinds House.

                (c)    Title to the Real Property (including the Fairwinds House) shall be
        conveyed to Purchaser subject only to the Permitted Exceptions, including for the
        Fairwinds House, the Fairwinds Mortgage, and the Fairwinds House shall be
        conveyed to Purchaser free and clear of (i) any claims arising out of that certain
        Exchange Agreement concerning the Fairwinds House by Paye or their successors
        or assigns, and (ii) any lien or interest claimed by Hall CA-NV, LLC (“Hall”).

               (d)    Hall has provided written consent to the transfer of the Fairwinds
        House and the Furnishings associated with the Fairwinds House to Purchaser in
        accordance with this Agreement and the Sale Order.

               (e)    Ladera Development, LLC shall not have filed an objection with
        the Bankruptcy Court to the Sale Order or the Settlement Order.

       6.      Sale Order Condition. Section 5.05(d) of the Original Agreement as amended by
Section 14 of the First Addendum is hereby replaced in its entirety by the following:

                “(d) No later than December 22, 2017, or such later date as may be
        agreed to in writing by Purchaser, the Bankruptcy Court shall have entered (a)
        the Sale Order, and (b) an order granting in full the Joint Motion To Approve
        Compromise And Settlement Agreement And Dismissal Under FRCP 7041,
        which was filed in the Bankruptcy Case on December 15, 2017 (“Settlement
        Order”), and neither the Sale Order nor the Settlement Order shall be stayed or
        subject to appeal as of the Closing Date, and the Sale Order and Settlement Order
        shall be Final Orders as of the Closing Date.”

       7.     Failure of a Condition Precedent to Purchaser’s Obligations. In the paragraph that
immediately follows existing Section 5.05(d) of the Original Agreement, the phrase “(or if the
Sale Order has not been entered on or before August 21, 2017)” shall be replaced with “(or if the

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Sale Order and Settlement Order have not both been entered on or before December 22, 2017, or
such later date as may be agreed to in writing by Purchaser)”.

       8.      Scheduled Closing Date. Section 7.1 of the Original Agreement as modified by
Section 15 of the First Addendum is hereby replaced in its entirety by the following:

                “7.01 Scheduled Closing Date. Provided that this Agreement has not
        been terminated pursuant to the provisions of this Agreement, Seller and
        Purchaser agree that the Closing Date shall occur at the Title Company’s offices
        or by mail on or before January 10, 2018 (the “Scheduled Closing Date”);
        provided that if the Scheduled Closing Date has not occurred because one or more
        of the conditions to Purchaser’s obligation to close under this Agreement has not
        occurred, then Purchaser shall have the right to extend both the Scheduled
        Closing Date and the Closing Date by providing Seller written notice of such
        election to extend on or before the then Scheduled Closing Date. Purchaser, in its
        sole discretion, may waive the requirement that Sale Order and Settlement Order
        be Final Orders as of the Closing Date to facilitate a Closing prior to the Schedule
        Closing Date.

        9.     U.S. Trustee’s Fee. The parties acknowledge that the U.S. Trustee’s fee in
connection with the administration of the Sale Order and Settlement Order will increase if the
Closing does not occur prior to January 1, 2018 and the Plan Payment by Purchaser will not
cover this increased fee amount (the “Increased Trustee’s Fee”). Accordingly, if the Closing
occurs on or after January 1, 2018, the Increased Trustee’s Fee shall be paid out of the proceeds
of the Purchase Price.

      10.    Agreement. Except as specifically set forth in this Second Addendum, the
Agreement remains unmodified and in full force and effect.

        11.    Counterparts. This Second Addendum may be executed in any number of
identical counterparts, each of which shall be deemed to be an original, and all of which together
shall be deemed to be one and the same instrument when each party has signed one such
counterpart. Counterparts may be delivered via facsimile, electronic mail (including pdf or any
electronic signature complying with the U.S. federal ESIGN Act of 2000, e.g.,
www.docusign.com) or other transmission method and any counterpart so delivered shall be
deemed to have been duly and validly delivered and be valid and effective for all purposes.




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        IN WITNESS WHEREOF, the parties hereto have executed this Second Addendum as of
the date first above written.

SELLER:                                              PURCHASER:

NEW CAL-NEVA LODGE, LLC,                             LAWRENCE INVESTMENTS, LLC,
a Nevada limited liability company                   a California limited liability company


By:                                                  By:
Name:                                                Name:
Title:                                               Title:


APPROVAL BY ASSIGNEES

         Pursuant to Section 21 of the First Addendum, Lawrence Investments LLC has assigned
its rights as Purchaser under the Agreement to: (a) SF Pacific, LLC, a California limited liability
company (“SF Pacific”), which will be taking title to the Fairwinds Property (as defined in the
Agreement), and (b) CN Hotel Holdings, LLC, a California limited liability company (“CN
Hotel” and collectively with SF Pacific, as “Assignees”), which will be taking title to the Hotel
Property (as defined in the Agreement). Each of the Assignees is an Affiliate (as defined in the
Agreement) of Purchaser and authorized Purchaser to act on their behalf in connection with this
Second Addendum.

       The Assignees hereby consent, approve and agreed to be bound by the terms and
conditions of this Second Addendum.

SF PACIFIC:                                          CN HOTEL:

SF PACIFIC, LLC,                                     CN HOTEL HOLDINGS, LLC,
a California limited liability company               a California limited liability company


By:                                                  By:
Name:                                                Name:
Title:                                               Title:




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